






Opinion issued September 20, 2007




		



	







In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00609-CR

____________


STEVEN AVILEZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 262nd District Court 

Harris County, Texas

Trial Court Cause No. 1121811






MEMORANDUM  OPINION

	Appellant, Steven Avilez, attempts to appeal from the trial court's order of
direct contempt.  We dismiss for want of jurisdiction.

	In the course of a felony trial, the trial court held appellant in contempt for
giving non-responsive answers to the lawyers' questions, and ordered appellant
confined for six months.  Appellant filed a pro se notice of appeal.

	Contempt orders are reviewable by application for habeas corpus relief, not by
appeal.  See Collins v. Kegans, 802 S.W.2d 702, 704 (Tex Crim. App. 1991);
Alcevedo v. State, No. 13-05-726-CR, Tex. App. LEXIS 9793 (Tex. App.--Corpus
Christi November 9, 2006, no pet.) (mem. op. not designated for publication).

	We dismiss for want of jurisdiction.

PER CURIAM


Panel consists of Justices Nuchia, Jennings, and Keyes.

Do not publish.  Tex. R. App. P. 47.2(b).


